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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                              Case No. 20-20857-CIV-WILLIAMS

   ISRAEL ROSELL and
   ROBERTO GONZALEZ,

          Plaintiffs,

   v.

   VMSB, LLC, d/b/a GIANNI’S and
   d/b/a CASA CASUARINA,

        Defendant.
   _____________________________________/

                                            ORDER

          THIS MATTER is before the Court on Chief Magistrate Judge Edwin G. Torres’

   Report and Recommendation (DE 161) on the motion to certify class. In the Report,

   Magistrate Judge Torres recommended that Plaintiffs’ motion (DE 102) be DENIED.

   Plaintiffs did not file objections to the Report, and the time to do so has passed.

          Having carefully reviewed the Report, the record, and the applicable law, it is

   ORDERED AND ADJUDGED as follows:

          1. The Report (DE 161) is AFFIRMED AND ADOPTED.

          2. Plaintiffs’ Motion to Certify Class (DE 102) is DENIED AS MOOT.

   DONE AND ORDERED in Chambers in Miami, Florida, this 28th day of March, 2022.
